J 1 23 05 lU: DOa HartsField & Gaerig [901]526- BUSU .B
u Case 2: 05- -C\/- 02405- .]DT- dkv Document 12 Filed 07/29/05 Page 1 of 2 Page|D 7p

@lla)al_a./_D'C-

w \ -
9 FH 3= 21, IN THE UNITED STATES DlsTRlCT COURT FOR THE R|.:(~U\/ED
05 JUL 2 WESTERN DISTRICT oF TENNESSEE 05
,. GO._M WESTERN DIVISION JUL ~5 PH I= 51

WO%'A'L" ` m P(\. kill

  
 

 

 

"LEW 1b \;-\3 ' ` ` _ mulvii'@ N{_WUL[]
l"“' DIAN:E FAR;\A CLEH£DU-S- T%SW{E%TCOUHT

Plaintiff,

VS.
NO. ()5~2405-'1`!\1

JO /\NNE B. BARNHART,
COMMISSIONER OF SOCIAL SECURITY,

Defendanl_

 

ORDER ALLOWING PLAINTIFF TO AMEND COMPLAINT AND
GRANTING PLAINTIFF UNTIL AUGUST 30 2005 TO FILF BRIEF

 

lt appearing to the Cc>urt for good cause shown that the Plaintiff is allowed 10 amend

her Complaint and she is given until August 30, 2005 to file her brief in support of her claim

for benefits.

div /
1180 ordered this day of Q/LLV)/ , 2005

l

§G/»MD»M

cHrEF n()bGE JAMES D. TODD

Approved;

 

Eugene C. Gaerig, Attomey for Plaintiff

 

 

 

Joe Dycus, Attomey for Defendam

Thls document entered on the docket sheet In compliance

, c"
with nme 53 and/or 79 (a) FncP on '"‘\5 02 03

     
 

  

TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02405 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Eugene C. Gaerig

LAW OFFICES OF EUGENE C. GAERIG
100 N. Main Street

Ste. 31 18

1\/1emphis7 TN 38103

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .1 ames Todd
US DISTRICT COURT

